                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

In re: SARAI SERVICES GROUP, INC. 1       )
                                          )                Case No.: 18-82948-CRJ-11
         EIN: xx-xxx2969                  )
                                          )
                Debtor.                   )                CHAPTER 11
    ______________________________________)

           FOURTH MOTION FOR APPROVAL OF INTERIM PROFESSIONAL FEES
             AND EXPENSES FOR CHAPTER 11 DEBTORS’ ATTORNEY

       COMES NOW the duly appointed and acting Debtors-in-Possession in the above styled
Chapter 11 case, and shows the Court as follows:

                                    General Background

       1.     On October 3, 2018, the Debtors commenced with this Court voluntary cases
under Chapter 11 of Title 11, United States Code (the "Bankruptcy Code").

       2.     The Debtors continue to be authorized to operate the business as Debtors-in-
Possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

       3.      On October 16, 2018, this Court approved the employment of Sparkman, Shepard
& Morris, P.C. as Debtors’ counsel. That day, this Court also entered an Order approving the
Debtors Motions to allow its attorneys to send monthly notices of attorney’s fees and expenses
incurred (the “Monthly Fee Notices”) to the Debtors’ 20 largest unsecured creditors, all parties
requesting notice, any committees appointed in this matter, the Bankruptcy Administrator (the
“Notice Parties”).

       4.      This Court’s order of November 8, 2018 also orders the Debtors counsel to file
with the Court, beginning on January 2, 2019, and serve upon the Notice Parties not more than
once every 90 days an interim application for allowance of compensation and reimbursement of
expenses, pursuant to 11 U.S.C. §331, of the amounts sought in the Monthly Fee Notices filed
during such period (the “Interim Fee Application”). The Interim Fee Application must include a
summary of the Monthly Fee Notices that are the subject of the request and any other
information requested by the Court or required by the Local Rules.




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      In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWWJV
LLC, Case No. 18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11;
and CM Holding, Inc., Case No. 18- 82951-CRJ-11.




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                                     Relief Requested

       5.    The said professional currently employed by the Debtors has previously served
Monthly Fee Notices for the months of June, July, and August 2019 with balances due on each
as shown below:

                                Sarai Services Group, Inc.

June 2019            Compensation: $6,210.00 (80% paid) / Expenses: $352.25 (100% paid)
                     Total: $6,532.25
                     Date of Notice: July 17, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $1,242.00

July 2019            Compensation: $9,894.50 (15% paid) / Expenses: $110.20 (100% paid)
                     Total: $10,004.70
                     Date of Notice: August 12, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $8,532.30

August 2019          Compensation: $6,030.50 (0% paid) / Expenses: $2,017.94 (0% paid)
                     Total: $8,048.44
                     Date of Notice: September 12, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $6,030.50

TOTAL COMPENSATION AND FEES INCURRED DURING THIS PERIOD:
              Compensation:    $22,135.00
              Expenses:        $ 2,480.39
              Combined Total:  $24,615.39


                                    SSG WW JV LLC

June 2019            Compensation: $0.00 (100% paid) / Expenses: $0.00 (100% paid)
                     Total: $0.00
                     Date of Notice: July 17, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $0.00

July 2019            Compensation: $2,010.00 (0% paid) / Expenses: $0.00 (100% paid)
                     Total: $2,010.00
                     Date of Notice: August 12, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $2,010.00




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August 2019     Compensation: $864.00 (0% paid) / Expenses: $0.00 (0% paid)
                Total: $864.00
                Date of Notice: September 12, 2019
                Amount of fees unpaid and to be satisfied by the Debtor after Court
                approval of this present application: $864.00

TOTAL COMPENSATION AND FEES INCURRED DURING THIS PERIOD:
              Compensation:    $2,874.00
              Expenses:        $    0.00
              Combined Total:  $2,874.00


                         Sarai Investment Corporation

June 2019       Compensation: $0.00 (100% paid) / Expenses: $0.00 (100% paid)
                Total: $0.00
                Date of Notice: July 17, 2019
                Amount of fees unpaid and to be satisfied by the Debtor after Court
                approval of this present application: $0.00

July 2019       Compensation: $2,820.00 (0% paid) / Expenses: $0.00 (100% paid)
                Total: $2,820.00
                Date of Notice: August 12, 2019
                Amount of fees unpaid and to be satisfied by the Debtor after Court
                approval of this present application: $2,820.00

August 2019     Compensation: $894.00 (0% paid) / Expenses: $0.00 (100% paid)
                Total: $894.00
                Date of Notice: September 12, 2019
                Amount of fees unpaid and to be satisfied by the Debtor after Court
                approval of this present application: $894.00

TOTAL COMPENSATION AND FEES INCURRED DURING THIS PERIOD:
              Compensation:    $3,714.00
              Expenses:        $    0.00
              Combined Total:  $3,714.00


                               CM Holding, Inc.

June 2019       Compensation: $7,293.00 (0% paid) / Expenses: $0.00 (100% paid)
                Total: $7,293.00
                Date of Notice: July 17, 2019
                Amount of fees unpaid and to be satisfied by the Debtor after Court
                approval of this present application: $7,293.00




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July 2019            Compensation: $6,391.00 (0% paid) / Expenses: $0.00 (100% paid)
                     Total: $6,391.00
                     Date of Notice: August 12, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $6,391.00

August 2019          Compensation: $1,819.00 (0% paid) / Expenses: $0.00 (100% paid)
                     Total: $1,819.00
                     Date of Notice: September 12, 2019
                     Amount of fees unpaid and to be satisfied by the Debtor after Court
                     approval of this present application: $1,819.00

TOTAL COMPENSATION AND FEES INCURRED DURING THIS PERIOD:
              Compensation:    $15,503.00
              Expenses:        $     0.00
              Combined Total:  $15,503.00

      6.      No agreement exists between the attorney and any other person or entity
whatsoever for the sharing of compensation or expenses in this case.

      7.     This application is brought under the provisions of Sections 327, 328, 330, 331 of
the United States Bankruptcy Code and Rule 2016 of the Federal Rules of Bankruptcy
Procedure.

         WHEREFORE, the Debtor requests that the Court: enter an Order approving such
compensation and expenses and authorizing the Debtor to pay same; and grant other and further
relief as the Court deems just and proper.

       Respectfully submitted this the 30th day of September, 2019.

                                            /s/ Tazewell T. Shepard
                                            Tazewell T. Shepard
                                            Attorney to Debtor-in-Possession

                                            SPARKMAN, SHEPARD & MORRIS, P.C.
                                            P. O. Box 19045
                                            Huntsville, AL 35804
                                            Tel: (256) 512-9924
                                            Fax: (256) 512-9837




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                               CERTIFICATE OF SERVICE

       This is to certify that I have this the 30th day of September, 2019 served the foregoing
Monthly Fee Notice upon the Debtor’s 20 largest unsecured creditors, all other persons
requesting notice, Richard Blythe, Office of the Bankruptcy Administrator, P.O. Box 3045
Decatur, AL 35602 by depositing said copies in the United States Mail in properly addressed
envelopes with adequate postage thereon.

                                               /s/ Tazewell T. Shepard
                                               Tazewell T. Shepard




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